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                          No. 18-15386
________________________________________________________________

                                    IN THE

         United States Court of Appeals for the Ninth Circuit
                      _____________________________

RAEF LAWSON, individually and on behalf of other similarly situated individuals,
       and in his capacity as Private Attorney General Representative,

                                                  Plaintiff-Appellant,

                                       v.

                 GRUBHUB HOLDINGS INC. and GRUBHUB INC.,

                                           Defendants-Appellees.
                    _______________________________

                On Appeal from the United States District Court
                    For the Northern District of California
                          Case No. 15-cv-05128 JSC
                   ________________________________

                PLAINTIFF-APPELLANT’S MOTION TO REMAND
                    _______________________________

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                             MOTION TO REMAND

      Pursuant to Circuit Rule 3-6(a), Plaintiff-Appellant Raef Lawson

(“Plaintiff”) respectfully moves the Court to remand this case to the District Court

for reconsideration in light of the California Supreme Court’s recent decision in

Dynamex Operations West, Inc. v. Superior Court, --- P.3d ---, 2018 WL 1999120

(Cal. Apr. 30, 2018).1 This case challenges the classification of food delivery

drivers by Defendant-Appellees GrubHub Holdings Inc. and GrubHub Inc.

(“GrubHub”) as independent contractors under California law. In Dynamex, the

California Supreme Court just this week announced a revised test for determining

when workers may be classified as independent contractors and when they must be

classified as employees for purposes of the California Labor Code. In determining

that Plaintiff was properly classified as an independent contractor and thus entering

judgment on behalf GrubHub, the District Court below applied the California

common law test for determining employee status that had been enunciated in S.G.

Borello & Sons, Inc. v. Dep’t of Indus. Relations, 48 Cal. 3d 341 (1989). See


1
       Ninth Circuit Rule 3-6(a) provides that the Court may remand or vacate a
judgment or remand the case for additional proceedings where “the Court
determines: (a) that clear error or an intervening court decision or recent
legislation requires reversal or vacation of the judgment or order appealed from or
a remand for additional proceedings” (emphasis added). See also Walczak v. EPL
Prolong, Inc., 198 F.3d 725, 728 n.2 (9th Circuit 1999) (noting that under Ninth
Circuit Rule 3-6(a), a party may move for summary reversal based, inter alia, on an
intervening court decision.).

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Lawson v. GrubHub, Inc., 2018 WL 776354, *11 (N.D. Cal. Feb. 8, 2018).

However, in Dynamex, the California Supreme Court has now announced that,

rather than the Borello test, a far stricter test, referred to as an “ABC” test, governs

the question of whether workers like the Plaintiff have been misclassified. See

Dynamex, 2018 WL 1999120, *29. Thus, because the District Court did not have

the benefit of this important new appellate authority, this Court should remand this

case to the District Court for reconsideration in light of Dynamex.2

      Plaintiff brought claims under the California Labor Code and the Private

Attorneys General Act (“PAGA”), Cal. Lab. Code § 2698 et seq., alleging that

GrubHub misclassified him and other delivery drivers across California as

independent contractors and thereby violated the Labor Code by failing to pay

minimum wage (Cal. Lab. Code §§ 1197 and 1194), failing to pay a time-and-a-

half overtime premium for hours worked in excess of forty in a given workweek or

in excess of eight per day (Cal. Lab. Code §§ 1194, 1198, 510, and 554), and

failing to reimburse for necessary business expenses (Cal. Lab. Code § 2802).

GrubHub has maintained that it properly classified its delivery drivers as




2
       In addition to appealing the District Court’s decision that he had not been
misclassified, Plaintiff also appealed the District Court’s order granting GrubHub’s
motion to deny class certification (D. Ct. Dkt. 65). Plaintiff reserves his right to
renew his appeal with respect to that order after an adjudication of his employee
status under the newly stated Dynamex decision.
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independent contractors and that it therefore has not committed any violations of

the Labor Code.

      Following a bench trial that took place from September 5 - 12, 2017, with

closing arguments held on October 30, 2017, which (by agreement of the parties)

focused first on whether Plaintiff himself had been misclassified, the District Court

issued its decision on February 8, 2018, finding that Plaintiff was properly

classified as an independent contractor (D. Ct. Dkt. 221). The District Court thus

issued a judgment in GrubHub’s favor (D. Ct. Dkt. 222).3 The District Court

considered the question of employment status under the multi-factor common law

test articulated in Borello, 48 Cal. 3d at 350. Under Borello, the “‘most significant

consideration’ is the putative employer’s ‘right to control work details’” which

“need not extend to every possible detail of the work.” O’Connor v. Uber

Technologies, Inc., 82 F. Supp. 3d 1133, 1138 (N.D. Cal. 2015) (quoting Borello,

48 Cal. 3d at 350). In addition to the right of control, the Borello test also considers

“a number of ‘secondary’ indicia,” including:

      (a) whether the one performing services is engaged in a distinct occupation

3
      On January 2, 2018, Plaintiff submitted a Notice of Supplemental Authority
(D. Ct. Dkt. 220), informing the District Court of the pendency of Dynamex and
the Supreme Court’s Order of December 28, 2017, which indicated that the
Supreme Court was considering adopting an “ABC” test for employee status. In
the notice, Plaintiff suggested that it may be appropriate for the Court to await the
Supreme Court’s imminent ruling in Dynamex before issuing a decision in this
case. Notwithstanding this notice, the District Court issued its decision without
acknowledging the notice or the pendency of Dynamex.
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        or business; (b) the kind of occupation, which reference to whether, in the
        locality, the work is usually done under the direction of the principal or by a
        specialist without supervision; (c) the skill required in the particular
        occupation; (d) whether the principal or the worker supplies the
        instrumentalities, tools, and the place of work for the person doing the work;
        (e) the length of time for which the services are to be performed; (f) the
        method of payment, whether by the time or by the job; (g) whether or not the
        work is a part of the regular business of the principle; and (h) whether or not
        the parties believe they are creating the relationship of employer-employee.

Borello, 48 Cal. 3d at 350. These secondary indicia “cannot be applied

mechanically as separate tests; they are intertwined and their weight depends on

particular combinations.” Id. at 351. No one Borello factor “is dispositive when

analyzing employee/independent contractor status.” O’Connor, 82 F. Supp. 3d at

1140.

        The California Supreme Court’s decision in Dynamex upends this analysis

and requires that this case be remanded for further consideration. In Dynamex, the

Supreme Court recognized that the multi-factor Borello test has led to uncertainty

and manipulation by putative employers and that an “ABC” test would better

satisfy the “history and purpose of the suffer or permit to work standard in

California’s wage orders.” Dynamex, 2018 WL 1999120, *29. Citing its decision

in Martinez v. Combs, 49 Cal. 4th 35 (2010), which set forth three definitions of

“to employ” under California law: “(a) to exercise control over the wages, hours or

working conditions, or (b) to suffer or permit to work, or (c) to engage, thereby

creating a common law employment relationship,” id. at 64, the Dynamex court


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explained the “suffer or permit” standard is “exceptionally broad,” “must be

liberally construed,” and applies to the employee/independent contractor inquiry.

Dynamex, 2018 WL 1999120, *27.

      The Court thus held that the proper standard for resolving that inquiry is:

first, to provide workers with a presumption of employee status, placing the burden

on the putative employer to establish that the worker is an independent contractor;

and second, to require the putative employer to establish each of three factors to

prove independent contractor status, commonly called an “ABC” test. Id. at 29.

Those factors require the putative employer to demonstrate that: “(A) the worker is

free from the control and direction of the hiring entity in connection with the

performance of the work, both under the contract for the performance of the work

and in fact; and (B) that the worker performs work that is outside the usual course

of the hiring entity’s business; and (C) that the worker is customarily engaged in

an independently established trade, occupation, or business of the same nature as

the work performed.” Id. The ABC test is conjunctive, meaning that if the

putative employer cannot establish all three factors with regard to a worker, that

worker is an employee as a matter of law. See id. at *34.

      Notably, the Dynamex Court specifically adopted the Massachusetts version

of the “ABC” test, which contains a very strict “B” prong. Under that prong, the

alleged employer can only establish independent contractor status by showing that


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the work performed is outside the employer’s usual course of business. In other

words, “when a clothing manufacturing company hires work-at-home seamstresses

to make dresses from cloth and patterns supplied by the company that will

thereafter be sold by the company . . . or when a bakery hires cake decorators to

work on its custom-designed cakes . . . the workers are part of the hiring entity’s

usual business operation and the hiring business can reasonably be viewed as

having suffered or permitted the workers to provide services as employees.” Id. at

*31 (internal citations omitted).

      Indeed, in the context of analyzing one of the secondary factors under the

Borello test – whether the work performed by Plaintiff was part of GrubHub’s

regular business – the District Court already found that GrubHub “is in the

business of online restaurant ordering and . . . of also providing food delivery for

certain restaurants” and that “at the time [Plaintiff] drove for Grubhub food

delivery was part of GrubHub’s regular business . . . .” Lawson, 2018 WL 776354,

*17. Thus, under prong B of the ABC test, it is apparent that GrubHub cannot

carry its burden to establish independent contractor status. See Dynamex, 2018 WL

1999120, *31.

      The Court should therefore remand to the District Court for reconsideration

of this case under the ABC test.4


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      Plaintiff submits that, while there can be little question that GrubHub cannot
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      Notably, the Dynamex decision makes clear that California’s adoption of the

ABC test is a reinterpretation of existing law, and thus the decision will apply

retroactively, including to Plaintiff in this case. Id. at 35-36. Indeed, as numerous

courts in California have found, judicial decisions altering the common law and

statutory interpretation have retroactive applicability. See, e.g., Brennan v. Tremco

satisfy prong B of the ABC test, GrubHub cannot satisfy prong C either under the
District Court’s decision, and it should not be deemed to satisfy prong A either,
under the Dynamex Court’s explanation of the proper “right to control” analysis.
GrubHub cannot satisfy prong C since, as the District Court found, Plaintiff was
“not engaged in a distinct occupation or business” and “did not run a delivery
business of which Grubhub was simply one client.” Lawson, 2018 WL 776354,
*15. It should not be held to satisfy prong A either, since the District Court rested
its conclusion regarding right of control on this analysis:

      Of primary significance, Grubhub did not control the manner or means of
      [Plaintiff’s] work, including whether he worked at all or for how long or
      how often, or even whether he performed deliveries for Grubhub’s
      competitors at the same time he had agreed to deliver for Grubhub.

Lawson, 2018 WL 776354, *18. However, in construing prong A, the Dynamex
Court favorably cited a case in which the Vermont Supreme Court (using a similar
iteration of the ABC Test) found that a clothing company retained the right to
control the work of its knitters and sewers even though they “worked at home on
their own machines at their own pace and on the days and at the times of their own
choosing,” because “‘[t]o reduce part A of the ABC test to a matter of what time of
day and in whose chair the knitter sits when the product is produced ignores the
protective purpose of the [applicable] law.’” Dynamex, 2018 WL 1999120, *30
n.27 (quoting Fleece on Earth v. Dep’t of Emple. & Training, 923 A.2d 594, 599-
600 (Vt. 2007)).
        Although GrubHub would likely not satisfy either prongs A or C of the ABC
test, the District Court should not even need to address these prongs because it is
so apparent that GrubHub cannot satisfy its burden on prong B. Dynamex makes
clear that it is not necessary for a Court to reach all prongs of the ABC test, or even
two prongs, if an employer cannot establish even one prong. See id. at *34.

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Inc., 25 Cal. 4th 310, 318 (2001) (“The general rule that judicial decisions are

given retroactive effect is basic in our legal tradition.”); Abramson v. Juniper

Networks, Inc., 115 Cal. App. 4th 638, 660-61 (2004) (“Although the [California]

Supreme Court issued its decision . . . after the trial court’s grant of summary

judgment in this case, [the Supreme Court decision] nevertheless applies to this

controversy. As a general rule, judicial decisions are given retroactive effect.”); see

also Rogers v. Tennessee, 532 U.S. 451, 452 (2001) (observing that prohibiting the

retroactive application of judicial decisions would “unduly impair the incremental

and reasoned development of precedent that is the foundation of the common law

system”); United States v. Tavizon-Ruiz, 196 F. Supp. 3d 1076, 1078 (N.D. Cal.

July 25, 2016) (“[D]ecisions of statutory interpretation are fully retroactive because

they do not change the law, but rather explain what the law has always meant.”)

(quoting United States v. Aguilera-Rios, 769 F.3d 626, 631) (9th Cir. 2014)).

      The District Court in its decision finding that Plaintiff was an independent

contractor rather than an employee did not perform the analysis that Dynamex

requires. And notably, the District Court’s finding that Plaintiff performed a

service within GrubHub’s usual course of business – food delivery – though just

one of the factors under the multi-factor Borello test, will be dispositive under the

ABC test. Because the District Court’s conclusion in this case as to whether

Plaintiff was misclassified must be reexamined in light of Dynamex, this Court


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should now remand this case to the District Court for reconsideration. 5


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        Under Dynamex, there can be no question that the ABC test applies to
Plaintiff’s claims for minimum wage and overtime, which expressly fall under the
ambit of Wage Order No. 9. Dynamex, 2018 WL 1999120, *27-29. The Dynamex
Court declined to address whether the ABC test would apply to an expense
reimbursement claim brought pursuant to Cal. Lab. Code § 2802, see id. at *3 n.5,
leaving that question to be decided below. Plaintiff submits that it would make
little sense not to apply the same standard for employee classification to an
expense reimbursement claim.
        Indeed, Wage Order No. 9 itself requires that an employer provide its
employees with any “tools or equipment” that “are necessary to the performance of
a job” (with certain exceptions not applicable here). Wage Order No. 9-2001, par.
9, Cal. Code Regs., tit. 8, § 11090. This would appear to require an employer to
reimburse an employee, where the employee was required to pay for such “tools or
equipment” out of pocket, which is exactly the requirement of Labor Code § 2802.
Plaintiff here sought reimbursement for use of his vehicle and his phone, the two
main pieces of equipment he needed in order to perform his work as a GrubHub
delivery driver. In Dynamex, the Appeals Court suggested that while some
reimbursement would fall under Wage Order No. 9 (such as reimbursement for
uniforms, equipment, etc.), reimbursement for personal vehicles would not.
See Dynamex Operations W., Inc. v. Superior Court, 230 Cal. App. 4th 718, 179
Cal. Rptr. 3d 69, 82 (2014) ("Claims for reimbursement for the rental or purchase
of personal vehicles used in performing delivery services, even if viable under
section 2802, appear to be outside the ambit of Wage Order No. 9"). In making
this pronouncement, the Court cited to Estrada v. FedEx Ground Package Sys.,
Inc., 154 Cal. App. 4th 1, 24, 64 Cal. Rptr. 3d 327, 346 (2007),
which interpreted Wage Order No. 9 to allow employers to require their employees
to provide their own vehicle, provided that the "employer agree to reimburse the
employee for all the costs incurred by the employee in the operation of the
equipment" (emphasis added).
        Thus, it appears that the Estrada Court was distinguishing
between employees being able to recover expense reimbursement for the
purchase of a vehicle as opposed to being able to recover for expenses associated
with using that vehicle for work. Here, Plaintiff here sought reimbursement not for
the purchase of his vehicle, but instead only for the costs incurred in using his
vehicle to perform his work for GrubHub, which he measured through the IRS
reimbursement rate. See Gattuso v. Harte-Hanks Shoppers, Inc., 42 Cal. 4th 554,
569 (2007)) (recognizing the IRS rate of reimbursement for mileage expenses is a
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Dated: May 4, 2018                           Respectfully submitted,

                                             RAEF LAWSON, individually and on
                                             behalf of other similarly situated
                                             individuals, and in his capacity as
                                             Private Attorney General
                                             Representative,

                                             By his attorneys,

                                             /s/ Shannon Liss-Riordan_______
                                             Shannon Liss-Riordan
                                             LICHTEN & LISS-RIORDAN, P.C.




“reasonable basis of computation of vehicle-related expenses.”); O'Connor v. Uber
Technologies, Inc., 311 F.R.D. 547, 567 (N.D. Cal. 2015) (same); Dalton v. Lee
Publ'ns, Inc., 270 F.R.D. 555, 564 (S.D. Cal.2010)).
       Thus, Plaintiff contends that the ABC test announced in Dynamex should
apply to his expense reimbursement claim under § 2802 (for use of his vehicle and
his phone), as well as to his minimum wage and overtime claims. Indeed, it would
be absurd for two different standards to apply, which could conceivably lead to a
result that Plaintiff was an employee for the purposes of the Labor Code’s
minimum wage and overtime requirements but an independent contractor with
respect to the Labor Code’s expense reimbursement requirement.
       However, this is an issue that must be decided now anew, in the wake of
Dynamex, and Plaintiff submits the appropriate course is for this Court to remand
the case to the District Court so that it can determine whether Plaintiff should be
classified as employee (at least for overtime and minimum wage purposes) under
Dynamex and also for the District Court to determine if the ABC test applies as
well to the expense reimbursement claim.

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                      CERTIFICATE OF COMPLIANCE
       Pursuant to Rules 27(d)(2)(A) and 32(g)(1) of the Federal Rules of Appellate
Procedure, and Ninth Circuit Rule 32-1, I certify that the foregoing Motion for
Summary Disposition and to Remand is proportionally spaced, has a typeface of 14
points, and contains 2,915 words, according to the word-count feature of Microsoft
Word, the word-processing application used to generate this motion.


                                                     /s/ Shannon Liss-Riordan
                                                         Shannon Liss-Riordan


                          CERTIFICATE OF SERVICE
       I hereby certify that on May 4, 2018, I electronically filed the foregoing with
the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit
by using the CM/ECF system. I certify that all participants in the case are
registered CM/ECF users and that service will be accomplished by the CM/ECF
system.


                                                     /s/ Shannon Liss-Riordan
                                                         Shannon Liss-Riordan




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